UNITED STATES DISTRICT COURT
FOR THE
DISTRI.CT OF NEW HAMPSHIRE

Kaitlin Hudson
Plaintit`f
Case No. ll-cv-O()27S~JD

V.

Dr. Michaei J. O’Connell’s Pain

Care Center, lnc. and

Dr. Michael J. O’Connell,
Defendants

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DEFENDANT DR. MICHAEL J. {)’CONNELL’S ANSWERS T() PLAINTIFF’S FIRST
SE'I` OF INTERROGATORIES

' On the basis of the information now known to hirn, and Without Waiving any objection or
admitting the relevance of materiality of any of the information sought, Defendant, Dr. l\/lichael
J, O’Connell (“Defendant” or “Dr. O’Connell”), hereby responds to Plaintift"s F`irst Set of
lnterrogatories:

GENERAL OBJECTIONS

All of the General Objections set forth herein are incorporated ineach of the specific
responses to the interrogatories set forth below and have the same force and effect as if set forth
herein

A. Defendant objects to Plaintift”s First Set of Interrogatories to the extent it requests
information that does not relate to dispositive discovery or seeks information that is beyond the
scope of discovery under the Federal Rules of Civil Procedu.re.

B. Defendant objects to each interrogatory that seeks information protected from
disclosure by the attorney-client privilege

C. Defendant objects to each interrogatory that seeks information protected from

disclosure by the attorney Worl< product doctrine

 

 

D. Defendant objects to Piaintiff’ s First Set of lnterrogatories to the extent that it
does not include a time limit and, thus, contains requests Which are overly broad and unduly
burdensome

E. Defendant objects to each interrogatory requesting information about “eac ,”
“any,” or “all” facts, persons and/or documents on the grounds that such requests are vague and
ambiguous, overbroad, unduly burdensome, oppressive and vexatious, and seek documents or
information that are neither relevant nor reasonably calculated to lead to the discovery of
admissible evidence

F. Defendant objects to each interrogatory that seeks to impose duties and
obligations on Defendant in excess of those imposed by Federal Rules of Civil Procedure.

G. Defendant has made a good faith effort to respond to each of the interrogatories
that is not otherwise objectionabie. Defendant reserves the-right to supplement or amend these
responses should it obtain additional responsive information

H. All Ansvvers are provided Without admitting the relevancy, materiality or
admissibility of any information provided or document identified, and all objectives to be used

are hereby expressly preserved

 

3. Please identify Whether you Were involved in a sexual relationship With the plaintiff,
I§aitlin Hudson. If so, piease identify When it began and when Was the last sexual interaction that
you had With her. ~ '

Answer: Yes. Approximately mid-February 2009 through no later than May 9, 2009.

 

4. Piease identify Whether you resided With Ms. Hudson for any length of tirne at any
residence in (a) Barrington, New Hampshire and (b) Wells, Maine. lr` so, please identify the
approximate timefraines When you resided With l\/is. Hudson in either or each location

Ansvver: Yes. ln approximately February 2009, l resided With i\/ls. Hudson in Barrington, Nevv
Harnpshire. From approximately, l\/larch through early May 2009, l resided Witli Ms. Hudson in
Wells, Maine. Prior to l\/l`ay 9, 2009, l\/ts. Hudson moved to the basement of the Wells, Maine
property ln approximately, February or l\/larch ZOlO, l moved back to the Barrington, N`ew
H.anrpshire property

5. Please identify whether you vvere ever sexually intimate with anyone other than l\/ls.
Hudson between .lune 2008 and June 2010. lt so, please identify with Whom, wlien, and Where.

Answer: Dr. O’Connell objects to this interrogatory on the grounds that is invasive, over
burdensome not related to claims and defenses and not reasonably calculated to lead to tire
discovery of admissible evidence Notwithstanding and subject to the aforementioned
objections, Dr. O’Connell states as foilows: l was not sexually intimate with the woman
identified in paragraphs 123-26 of the First Amend.ed Complaint.

 

 

 

6. Please identify whether you have ever tested positive for the herpes virus lf so, please
identify when and where you were tested

Answer: Dr. O’Connell objects to this interrogatory on the grounds that is invasive and seeks
information protected by the physician/patient privilege l\iotwithstanding and subject to the
aforementioned objections and without waiver of any physician/patient privilege Dr. O’Connell
states as follows: l have never tested positive for HSVH.

 

7. Please identify whether you have ever taken Valtre>r, if so, please identify when and who
prescribed it.

Answer: Dr. O’Connell objects to this interrogatory on the grounds that is invasive and seeks
information protected by the physician/patient privilege Notwithstanding and subject to the
aforementioned objections and without waiver of any physician/patient privilege Dr. O’Connell
states as follows: No.

 

